Case 2:OO-Cr-20216-BBD Document 94 Filed 07/20/05 Page 1 of 2 Page|D 111

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UNITED STATES OF AMERICA, WFD :}F ;:~N‘ YNPHS
Plaintiff,

vs. Case No. 2:00-20216-D

Marcus McKinnie

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for reh.md of the cash appearance bond.
lt now appears that the defendant has complied with the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $250.00,
payable to Cheryl R. McKinnie at 28571 Leafy Hollow #3, Memphis, TN 38127 in full refund of the

cash appearance bond posted herein.

    

ited States District Judge
Bernice B. Donald

Date: 7-» /‘? -' BOJJ/
Approved.

M. Gould, Clerk of Co rt

  

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 94 in
case 2:00-CR-202]6 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

Jennifer LaWrence Webber
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

